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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
  TRYG INSURANCE a/s/o Toms Confectionery
  Group, and TOMS CONFECTIONERY GROUP,
                                                       Case No. 3:15-cv-05343 (MAS) (TJB)
                                 Plaintiffs,
                                                       Hon. Michael A. Shipp, U.S.D.J.
                  - against-

  C.H. ROBINSON WORLDWIDE, INC., and
  NATIONAL REFRIGERATED TRUCKING,
  LLC.,

                               Defendants.

                               NOTICE OF APPEAL TO THE
                      U. S. COURT OF APPEALS FOR THE THIRD CIRCUIT

       NOTICE is hereby given that Defendant, C.H. Robinson Worldwide, Inc. (“CHRW”),

appeals to the United Stated Court of Appeals for the Third Circuit from the Judgment Order

[Dkt. # 53] of the Hon. Michael A Shipp, U.S.D.J., dated November 28, 2017, and the

underlying Opinion and Final Judgment [Dkt.# 52] of the Hon. Michael A. Shipp, U.S.D.J.,

dated November 28, 2017, which granted Plaintiff judgment in the amount of $124,034.31, plus

pre-judgment interest, against Defendant.


Dated: December 19, 2017                  By: s/ Kenneth A. Olsen
                                          Kenneth A. Olsen, Esq.
                                          33 Philhower Road
                                          Lebanon, New Jersey 08833
                                          Phone: (908) 832-9207
                                          Email: kolsen53@earthlink.net
                                                      ~and~
                                          By: /s/ Barry Gutterman
                                          Barry N. Gutterman, Esq. (Admitted Pro Hac Vice)
                                          Barry N. Gutterman & Associates, P.C.
                                          85 Davids Way
                                          Bedford Hills, New York 10507
                                          Phone: (212) 983-1466
                                          Email: bngassc@aol.com
                                          Attorneys for Defendant C.H. Robinson Worldwide, Inc.

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To:

John T. Lillis, Esq.
Kennedy Lillis Schmidt & English
75 Maiden Lane, Suite 402
New York, NY 10038
Attorneys for Plaintiff




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